         Case 2:13-cv-00374-DS Document 189 Filed 06/18/18 Page 1 of 1



                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                          FILED
RYAN M. PADDICK                                                  CIVIL ACTION
                                         JUN. 18 2018
     Movant
       v.                             KATE BARKMAN, Clerk :      NO.: 09-4285
                                     By_        Dep. Clerk:
SHENECQUA BUTT; THERESA HOW ARD; and.
ELLEN BRONSON, a/k/a ELLEN BROWN
     Respondents

RYANM.PADDICK                                                    CIVIL ACTION
    Movant
v.                                                               NO.: 13-374

THERESA HOW ARD
     Respondent
                                          ORDER


       AND NOW, this 18th day of June, 2018, upon consideration of Sandra Thompson, Esq.'s

Motion to "(l) Stay execution pending appeal of the May 24, 2018 Order ... pursuant to Fed. R.

Civ. P. 62 and (2) to approve superseadeas bond," (Doc. 370), Ryan Paddick, Esq. 's response

(Doc. 371), Shenecqua Butt's response (Doc. 374), Ellen Brown's response (Doc. 378), and

Thompson's reply thereto (Doc. 375), and for the reasons set out in our accompanying

Memorandum and Opinion, IT IS HEREBY ORDERED THAT:


   1. Thompson's motion is DENIED.

   2. Thompson shall disburse funds in her escrow account in accordance with our May 24,

      2018 order by June 25, 2018. (Doc. 369.)


                                                     BY THE COURT:


                                                 c   i~---;;uc7f1st;o-
                                                 '"DAYID R. STRAWBRIDGE
                                                     UNITED STATES MAGISTRATE JUDGE
